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 1                                                          The Honorable John C. Coughenour
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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       UNITED STATES OF AMERICA,                      CASE NO. CR20-032JCC
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                               Plaintiff,
                                                      GOVERNMENT’S RESPONSE TO
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                                                      MOTION TO SUPPRESS
13                       v.
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       KALEB COLE,
15
                              Defendant.
16
17
18                                           INTRODUCTION
19          Kaleb Cole was a leader of Atomwaffen, a white-supremacist group that espouses
20 violence against minorities. Cole helped orchestrate a campaign to target journalists,
21 Jewish people, and persons of color with threatening posters. Some of the posters were
22 tacked onto the victims’ houses in the middle of the night. Other victims received the
23 posters through anonymous letters in the mail.
24          In January 2020, a United States Magistrate Judge for the Southern District of
25 Texas issued a search warrant for Cole’s residence. Along with other evidence described
26 in the affidavit, the affiant laid out a series of encrypted chats in which the plot’s
27 participants worked together to identify their victims and planned to distribute the
28 threatening material. The FBI had previously obtained these chats from an informant
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 1 who had taken screen shots of the messages. The members of the chat group identified
 2 themselves using nicknames or handles such as “Krokodil” or “Lazarus.” One key
 3 member of the group identified himself using the following moniker made up of Hindi
 4 symbols: पकजबतचषथबल. The affiant stated in affidavit that Cole was पकजबतचषथबल.
 5 The FBI knew पकजबतचषथबल to be Cole for various reasons, one of which was that the
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   informant had confirmed this fact.
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          Cole now claims the affidavit was defective because it failed to spell out the
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   reasons why the informant knew Cole was पकजबतचषथबल, and because the affidavit did
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   not disclose certain information about the informant. Cole contends the omitted
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   information renders the informant unreliable. Cole’s motion fails for four independent
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   reasons.
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          First, the warrant established probable cause, even setting aside the evidence that
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   Cole was पकजबतचषथबल. The affidavit independently established that: (1) Cole was
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   the co-leader and chief-propagandist for Atomwaffen; (2) Cole had made recorded
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   statements urging that Atomwaffen should intimidate “nosy journalists” by approaching
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   them with “nothing but pure aggression”; (3) Cole was the subject of reporting in in his
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   home state of Washington in September 2019, when officers executed an Extreme Risk
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   Protection Order against him; and (4) just months after this coverage, in January 2020,
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   Atomwaffen in fact did send threatening communications to journalists, including C.I., a
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   journalist from Washington. Based on all of these facts—which are independent of
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22 Cole’s use of the पकजबतचषथबल moniker or other information provided by the
23 informant, the affidavit established probable cause.
24       Second, contrary to Cole’s assertions, the affiant possessed overwhelming

25 evidence independent of the informant establishing that Cole was the person using the
26 पकजबतचषथबल moniker. Cole’s motion is premised on the assertion that “essentially
27 all of the information supporting probable cause . . . came from the CI.” Dkt. 194 at 4.
28 But that is simply not true. As explained below, the FBI had an abundance of evidence
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 1 establishing Cole was पकजबतचषथबल. For example, पकजबतचषथबल made statements
 2 in the chats themselves acknowledging he was Cole. The FBI independently reviewed
 3 these chats and did not need to rely on the informant to reach the conclusion that Cole
 4 was पकजबतचषथबल. In hindsight, it would have been preferable to have spelled out the
 5
   various reasons why the FBI knew Cole was पकजबतचषथबल. But courts routinely
 6
   approve affidavits where agents assert that a subject is known to use a certain nickname
 7
   without going into the reasons behind the assertion. This is no different.
 8
           Third, under Leon, the agents were entitled to rely in good faith upon the Court’s
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   finding of probable cause. Cole claims it was unreasonable for the agents to believe the
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   affidavit set out probable cause. But, as discussed above, the affidavit contained
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   substantial evidence (including evidence independent of the moniker) tying Cole to the
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   plot. Thus, even if the Court were to conclude the affidavit did not establish probable
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   cause, the affidavit was not so “bare bones” as to make reliance upon it unreasonable.
14
   That this belief was reasonable is evidenced by the fact that not one, but two federal
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   judges concluded the evidence in the affidavit set forth probable cause. (The Honorable
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   Mary Alice Theiler authorized an arrest warrant for Cole based on a Complaint that relied
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   on the same evidence as the search warrant affidavit.) In addition, the affidavit also was
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   approved by two United States Attorney’s Offices—this Office and the Southern District
19
   of Texas—both of which believed the affidavit set forth probable cause. The fact that
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   two judges and multiple prosecutors believed the affidavit established probable shows
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   that the agent acted reasonably in reaching the same conclusion.
22
           Fourth, although the defense is correct that certain potential impeachment
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   information about the informant was not included in the affidavit, that omission is hardly
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   fatal. The omitted information was limited to the fact that the informant was well
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   compensated by the FBI over a 16-year period, and was convicted of a firearms crime
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   over 15 years ago. The affiant did not include this information because he believed in
27
   good faith that probable cause was not dependent on the informant’s credibility. But
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 1 even if the informant’s credibility was material to the probable cause finding, the omitted
 2 information would not have changed the outcome. The fact that the FBI repeatedly chose
 3 to pay the informant for information over many years is a reflection of the fact that the
 4 FBI consistently found the informant’s information proved reliable. And, it is far-fetched
 5 to suggest that a single 15 year-old firearms conviction would have caused the magistrate
 6 judge to refuse to sign off on the warrant. And finally, as the affidavit outlined in great
 7 detail, the agents were able to corroborate the information the informant had relayed
 8 about the plot.
 9                                            BACKGROUND
10 A.       The Search Warrant Affidavit
11          1.      Evidence of Cole’s Leadership of Atomwaffen and Plot to Intimidate
12                  Journalists
13          FBI Special Agent Casey Villarreal authored the affidavit that was submitted in
14 support of the search warrant for Cole’s residence. See Dkt. 194-1. Special Agent
15 Villarreal clarified that the affidavit was based not simply on his personal knowledge, but
16 also on information shared by “other individuals during th[e] investigation,” a “review of
17 documents and records relating to th[e] investigation,” and “communications with others”
18 who had “personal knowledge of the events and circumstances” described in the
19 affidavit. Id. ¶ 3. Special Agent Villarreal clarified that the affidavit did “not set forth
20 each and every fact that [he] or others ha[d] learned during the course of th[e]
21 investigation.” Id.
22          In the affidavit, Special Agent Villarreal first outlined Cole’s involvement in
23 Atomwaffen. Id. ¶¶ 9-11. Special Agent Villarreal explained that Cole, along with
24 another individual, had been tasked to lead Atomwaffen after a prior leader was arrested
25 in 2017. Id. ¶ 11. Special Agent Villarreal explained that “Cole is . . . [the] primary
26 producer of propaganda for” Atomwaffen. Id. ¶ 9. Special Agent Villarreal further
27 explained that Cole had coordinated a “hate camp” for Atomwaffen members in 2018
28 where members, among other things, “trained” in “creat[ing] neo-Nazi propaganda.” Id.
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1 ¶ 12. Cole hosted the camp at an abandoned factory in Concrete, Washington, about 55
2 miles from Cole’s Arlington residence. Id.
3           The affidavit noted that, on February 23, 2018, the Seattle Times published an
4 article discussing Atomwaffen. Id. ¶ 14. Cole was one of the Atomwaffen members
5 identified in the article. Id. The affidavit continued that, in September 2018, Cole posted
6 a recorded message aimed at targeting the media. The FBI obtained the recording from
7 the informant. The affidavit quoted Cole as saying on the recording:
8           The matter of these nosy reporters coming into our daily lives where we
            work where we live where we go in our spare time. We must simply
9
            approach them with nothing but pure aggression. We cannot let them think
10          that they can just that that it’s safe for them to just come up to us and fuck
            with us We cannot let them think they are safe in our very presence
11
            alone...”
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     Id. ¶ 15 (emphasis added). Agents had listened to this recording submitting the affidavit,
13
     and Cole’s voice is easily recognizable as the speaker.
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            The affidavit also recounted that Cole had spoken to the FBI in July 2019, and that
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     he had described the media as being “a threat to the public.” Id. ¶ 16. The affidavit
16
     explained that in late September 2019, Cole had been served with a Washington State
17
     Extreme Risk Protection Order, under which he was required to surrender his firearms.
18
     Id. ¶ 18. Officers seized nine guns from Cole. Id. The affidavit stated that confidential
19
     human source reporting had revealed that Cole, along with other Atomwaffen members,
20
     including Cameron Shea, were upset over media coverage of the event and that one
21
     member pledged to “hit back . . . [and] embarrass the enemy on their own front.” Id.
22
            The affidavit also recounts that, on January 9, 2020, an undercover officer met
23
     with Cole at the Montgomery, Texas residence where Cole was living (and where the
24
     search later occurred). Id. ¶ 48. The officer observed Cole wearing a Ku Klux Klan robe
25
     during the meeting. Id. While not specifically mentioned in the affidavit, Cole explicitly
26
     discussed the plot to intimidate journalists, including identifying potential victims in
27
     Washington State, with the officer.
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 1         2.       The Encrypted Chat String
 2         The affidavit explained that, in November 2019, shortly after the events described
 3 above, Cameron Shea established a private encrypted group chat. Id. ¶ 20. The affidavit
 4 set out ten screenshots showing examples of portions of the chats. Id. ¶¶ 20-31, 44-47.
 5 The affidavit also summarized other portions of the chats, stating that, “[a]ccording to
 6 Shea, the purpose of the operation was to “send a clear message that we [Atomwaffen] . .
 7 . have leverage over them The goal of course is to erode the media/states air of
 8 legitimacy by showing people they have names and addresses and hopefully embolden
 9 others to act as well.” Id. The affidavit stated that Cole was part of the chat group, and
10 that “Khim,” whom the affidavit identified as being Cole, was developing a number of
11 posters that “are threatening but not explicitly.” Id.
12
           The affidavit explained that Cole, using the moniker पकजबतचषथबल, stated that
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   newer Atomwaffen members whose identities were not publicly known would carry out
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   the operation. Id. ¶ 21. The affidavit showed पकजबतचषथबल’s extensive participation
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   in the plot, including that he gathered victim addresses, that he advised other members as
16
   to operational security, and that he distributed the posters via encrypted email. Id.
17
           3.     Evidence the Plot was Executed
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19         The affidavit then described how the operation had been carried out. Id. ¶¶ 32-43.
20 As the affidavit explained, in Washington State, agents had surveilled Shea and observed
21 him change into a disguise to purchase a book of distinctive stamps. Id. ¶ 32. On
22 January 29, 2020, a Seattle journalist with the initials C.I. who had reported on
23 Atomwaffen contacted the FBI to report that he had received one of the threatening
24 posters in the mail. Id. ¶ 33. Though not specifically noted in the affidavit, C.I. had
25 specifically reported on Cole and had conducted an on-camera visit to Cole’s family
26 home seeking an interview. Other victims also contacted the FBI and reported that they
27 had received in the mail threatening Atomwaffen posters. Id. ¶ 33. All the posters bore
28 the distinctive stamps that Shea had purchased. Id. ¶¶ 33-34. In Florida and Arizona,
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 1 agents surveilled other members Atomwaffen carry out the operation by delivering
 2 threatening posters. Id. ¶¶ 35-43.
 3 B.      The Agents Possessed Substantial Evidence Independent of the Informant
 4         Tying Cole to the पकजबतचषथबल Moniker.

 5         Cole asserts “it is not entirely clear even to this day what the government’s basis is
 6 for attributing moniker to Cole.” Dkt. 194 at 6. In fact, Special Agent Villarreal and the
 7 team of agents working with him had overwhelming evidence that Cole was
 8 पकजबतचषथबल. As will be demonstrated at trial in this case, पकजबतचषथबल
 9 acknowledged he was Cole on multiple occasions during chats that were reviewed by the
10 FBI before the FBI obtained the warrant. As one example, an Atomwaffen member sent
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   पकजबतचषथबल an article about the Extreme Risk Protection Order having been served
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   on Cole:
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24         In response to receiving the article, पकजबतचषथबल acknowledged he was Cole

25 by complaining at length about not being able to afford an attorney to contest the petition:
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 5         In another example, पकजबतचषथबल shared with the chat group a link to an

 6 article about a warrant being issued for Cole’s arrest in Washington following Cole’s
 7 violation of the Extreme Risk Protection Order. पकजबतचषथबल commented that, as a
 8 result of the warrant, पकजबतचषथबल would not be returning to Washington. (Cole by
 9 this time had moved to Texas.) When another member commented that “at least [Cole’s
10 warrant is] nonextraditable, पकजबतचषथबल responded “DAMN RIGHT”:
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22         In yet another example, पकजबतचषथबल referenced being on “trial[]” in Canada

23 and that the trial involved a “blood eagle for every bureaucrat” poster:
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     As the FBI knew at the time the search warrant was submitted, Cole had been the subject
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     of a contested immigration hearing in Canada. And, in an audio recording that the FBI
13
     had in its possession, Cole discussed being asked about the “blood eagle for every
14
     bureaucrat” poster during the Canadian hearing.
15
            As a final example, the affidavit noted that, in one of the encrypted chats,
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     पकजबतचषथबल “suggested buying rag dolls and knives so that one could leave a doll
17
     knifed through the head at their target location.” As the FBI knew, during the January
18
     23, 2019 meeting with the undercover officer, Cole had recounted a story about another
19
     hate group using knives to affix rag dolls to trees. Cole suggested in the undercover
20
     meeting that the group attempt to “recreate” this in their plot against journalists.
21
     C.     The Omitted Information About the Informant
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23          The informant has provided information to the FBI since approximately 2003, and

24 has received a total of approximately $140,000, which included both compensation and
25 reimbursement for expenses. He has been provided $78,133.20 in compensation and
26 reimbursement since February 7, 2018, which almost entirely coincided with his work on
27 Atomwaffen. The informant has a prior firearms conviction that was sustained over
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 1 fifteen years ago. The informant is not known to have ever made any false statements or
 2 otherwise engaged in dishonesty.
 3                                                 ARGUMENT
 4 A.       The Affidavit Sets Forth Probable Cause Apart from Any Statements Made
 5          by the Informant

 6          A search warrant is supported by probable cause if the issuing judge finds that,
 7 “given all the circumstances set forth in the affidavit before him . . . there is a fair
 8 probability that contraband or evidence of a crime will be found in a particular place.”
 9 Illinois v. Gates, 462 U.S. 213, 238 (1983). “In order to establish probable cause, the
10 warrant affidavit must contain specific information that would allow a magistrate to
11 independently determine whether probable cause exists.” United States v. Payne, 2008
12 WL 11358001, at *2 (C.D. Cal. Oct. 7, 2008).
13          As the Ninth Circuit has instructed, there need only be “a reasonable nexus
14 between the activities supporting probable cause and the locations to be searched.”
15 United States v. Pitts, 6 F.3d 1366, 1369 (9th Cir. 1993) (internal quotation omitted). “A
16 ‘reasonable nexus’ does not require direct evidence that the items listed as the objects of
17 the search are on the premises to be searched. The magistrate must only conclude that it
18 would be reasonable to seek the evidence in the place indicated in the affidavit.” Id.
19 (internal quotation omitted); see also United States v. Walker, 2020 WL 3841312, at *3
20 (E.D. Cal. July 8, 2020) (“The required nexus between the alleged criminal behavior and
21 the location to be searched does not set a high bar . . . .”).
22          The affidavit established probable cause to conclude that evidence of the plot was
23 likely to exist at Cole’s residence. First, the affidavit establishes probable cause even if
24 the moniker is not attributed to Cole. That is, regardless of whether Cole was
25 पकजबतचषथबल, the affidavit established (a) the existence of an Atomwaffen plot to
26 intimidate journalists; and (b) Cole was part of the plot. With regard to the existence of
27 the plot, whether or Cole was पकजबतचषथबल, the chat string serves to establish that
28 Atomwaffen planned to intimidate journalists using threatening posters. And, the
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 1 affidavit sets out extensive evidence that the plot actually occurred, that is, journalists and
 2 others did in fact receive threatening Atomwaffen-branded messages. Affidavit ¶¶ 32-43.
 3          The affidavit also contains substantial evidence—separate and apart from the
 4 पकजबतचषथबल moniker—linking Cole to the plot. The affidavit identified Cole as the
 5 co-leader of Atomwaffen and the “primary producer of propaganda” for the group.
 6 Affidavit ¶¶ 9, 11. It notes that Cole was the subject of a Seattle Times article about
 7 Atomwaffen that specifically identified Cole. Id. ¶ 14. It quotes a recorded statement by
 8 Cole urging that the group must approach “nosy reporters” with “nothing but pure
 9 aggression,” and that “we cannot let them think they are safe.” Id. ¶ 15. It recounts that
10 Cole made explicit statements to the FBI complaining that the media had sensationalized
11 Atomwaffen and had specifically targeted Cole. Id. ¶ 17. It notes that Cole was the
12 subject of coverage by several Washington media outlets when we was served with an
13 Extreme Risk Protection Order in September 2019. Id. ¶ 18. And importantly, the
14 affidavit also recounts that, just a few months later, C.I., a journalist from Washington
15 (Cole’s home state) received one of the threatening Atomwaffen mailings. Id. ¶ 33.
16        None of the foregoing facts rely on Cole being identified as पकजबतचषथबल, but
17
     together they leave little doubt that Cole was a participant in the plot. It would be
18
     untenable to believe that, following Cole’s exposure by Washington state journalists,
19
     Atomwaffen executed a plot to intimidate journalists, including a journalist from his
20
     home state of Washington, without the knowledge and say-so of Cole, Atomwaffen’s
21
     chief propagandist, who was leading the charge to approach “nosy reporters” with
22
     “nothing but pure aggression.” Thus, even if one were to excise the portions of the
23
     affidavit that identify Cole as पकजबतचषथबल, the affidavit would still establish
24
     probable cause.
25
            Second, it was permissible for the magistrate to credit the affidavit’s assertion that
26
     Cole is पकजबतचषथबल. Cole cannot seriously dispute that probable cause existed if
27
28 Cole is identified as पकजबतचषथबल. As detailed above and in the affidavit,
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 1 पकजबतचषथबल was deeply involved in organizing and planning the operation. In the
 2 affidavit, Special Agent Villarreal told the Court that Cole was the person using the
 3 moniker, and as set forth above, the agent possessed overwhelming evidence that this was
 4 in fact true, even apart from any statements made by the informant.
 5         Cole claims the affiant’s identification of Cole as पकजबतचषथबल must be
 6
     suppressed because the agent failed to delineate the specific facts underlying his (clearly
 7
     correct) statement that Cole was पकजबतचषथबल. Although, in hindsight, the
 8
     government easily could have set out those facts, the magistrate judge could properly rely
 9
     on the agent’s identification of Cole as पकजबतचषथबल. It is not uncommon for officers
10
     to state in affidavits that they or that fellow officers “know” that the target goes by a
11
     particular nickname based on their investigation or prior dealing with the target. See
12
     United States v. Alvarez, 190 F. Supp. 3d 885, 888 (N.D. Cal. 2016); United States v.
13
     Rios-Lopez, 2011 WL 13142502, at *2 (E.D. Wash. Oct. 7, 2011); United States v.
14
     Ramsey, 2013 WL 6388518, at *1 (M.D. Pa. Dec. 5, 2013); United States v. Palma, 2008
15
     WL 5273746, at *6 (N.D. Cal. Dec. 19, 2008); United States v. Angulo-Lopez, 8 F.3d 30
16
     (9th Cir. 1993) (unpublished).
17
18          Here, the पकजबतचषथबल moniker was, in essence, a nickname for the person

19 sending the chats. The magistrate judge, like the judges in the cases cited above, could
20 (and did) choose to rely on the affiant’s assertion that Cole was पकजबतचषथबल. To the
21 extent that the affiant was incorrect in this assertion, Cole’s remedy would be to seek a
22 Franks hearing to provide the full context for the assertion. See, e.g., United States v.
23 Chesher, 678 F.2d 1353, 1360 (9th Cir. 1982) (fact that affidavit asserted falsely that
24 defendant was a Hells Angel did not undercut magistrate’s finding of probable cause;
25 falsity could be raised as a Franks issue). Here, however, such a hearing would be
26 inappropriate because, for reasons set out above, the assertion at issue—that Cole is
27 पकजबतचषथबल—is undeniably true.
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1 B.        Even Assuming the Affidavit Failed to Establish Probable Cause, the Agents
            Were Entitled to Rely Upon the Determinations by Two Federal Judges That
2
            Probable Cause Existed
3
            “The exclusionary rule does not apply to an officer's “objectively reasonable
4
     reliance on a subsequently invalidated search warrant,” unless the warrant was “based on
5
     an affidavit ‘so lacking in indicia of probable cause as to render official belief in its
6
     existence entirely unreasonable.’” United States v. Jobe, 933 F.3d 1074, 1077
7
     (9th Cir. 2019) (quoting United States v. Leon, 468 U.S. 897, 922–23 (1984)). “Even if
8
     an affidavit fails to establish probable cause, an officer cannot be expected to question the
9
     magistrate’s probable-cause determination, unless the affidavit is ‘bare bones,’ i.e., it fails
10
     to provide a colorable argument for probable cause.” Id. (internal quotations omitted).
11
     The Court need not reach the question of whether an affidavit is supported by probable
12
     cause if the agents relied in good faith on judicial approval of the warrant. See United
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     States v. Crews, 502 F.3d 1130, 1136 (9th Cir. 2007) (“Before embarking on the exercise
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     of determining whether the affidavit supported probable cause, we may proceed directly
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     to the issue of whether there was good faith reliance.”).
16
            As discussed in Section A above, the affidavit contained substantial evidence
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     against Cole. And setting aside whether the affidavit actually met the legal standard, it
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     was certainly reasonable for the agents to believe it did. That is particularly true given
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     that, at the time officers executed the warrant, they knew a United States Magistrate
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     Judge for the Southern District of Texas had reviewed the affidavit and concluded that it
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     had established probable cause. They also knew that a separate United States Magistrate
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     Judge in the Western District of Washington had reviewed the Complaint, which was
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     based on the same evidence, and likewise concluded that it had established probable
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     cause to arrest Cole. It was not unreasonable for the agents to rely on these two judicial
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     determinations, let alone that multiple Assistant United States Attorneys had approved of
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     the warrants. See United States v. Taxacher, 902 F.2d 867, 872 (11th Cir. 1990) (“In this
27
     case Officer Riner consulted with the local district attorney before seeking the search
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 1 warrant, and then submitted the matter to a neutral magistrate. These steps are indicative
 2 of objective good faith.”).
 3         The officers were acting in good faith: the affidavit contained substantial evidence
 4 linking Cole to the plot; and they were entitled to rely upon the twin judicial
 5 determinations that probable cause existed. In these circumstances, even if the affidavit
 6 fell short of establishing probable cause, suppression is not an appropriate remedy.
 7 C.      The Affiant Did Not Recklessly or in Bad Faith Omit Information About the
           Informant
 8
 9         As set forth above, the affiant knew that पकजबतचषथबल was Cole for the
10 separate reason that the informant advised agents as such. Dkt. 194-1 ¶ 20. Once again,
11 if this assertion is credited, the affidavit clearly sets forth probable cause. The defense,
12 however, claims that the Court cannot do so because the affiant did not advise the Court
13 that the informant (1) had been paid for his information and (2) had a 15-year-old
14 firearms conviction.
15         A defendant is entitled to a Franks hearing on “the validity of the affidavit
16 underlying a search warrant if the defendant can make a substantial preliminary showing
17 that (1) the affidavit contains intentionally or recklessly false statements or misleading
18 omissions, and (2) the affidavit cannot support a finding of probable cause without the
19 allegedly false information.” United States v. Reeves, 210 F.3d 1041, 1044
20 (9th Cir. 2000). The defendant’s allegations must be accompanied by a detailed offer of
21 proof, preferably in the form of affidavits.” United States v. Kiser, 716 F.2d 1268, 1271
22 (9th Cir. 1983) (citing Franks, 438 U.S. at 171; United States v. Chesher, 678 F.2d 1353,
23 1360 (9th Cir. 1982); United States v. Young Buffalo, 591 F.2d 506, 509 (9th Cir. 1979)).
24 A “misleading omission” must be material. See generally Crowe v. County of San Diego,
25 593 F.3d 841, 870 (9th Cir. 2010). An omitted fact is material if its inclusion in
26 the affidavit would have “‘cast doubt on the existence of probable cause.’” United States
27 v. Garza, 980 F.2d 546, 551 (9th Cir. 1992) (quoting United States v. Dennis, 625 F.2d
28 782, 791 (8th Cir. 1980)). Under Franks, “[a]llegations of negligence or innocent mistake
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 1 are insufficient” to obtain a hearing. Franks, 438 U.S. at 171; see also United States v.
 2 Miller, 753 F.2d 1475, 1478 (9th Cir. 1985).
 3         Cole’s request for a Franks hearing should be denied for two reasons. First, the
 4 nature of the potential impeachment information must be balanced against the fact that
 5 the informant’s statements were corroborated in that the plot actually happened. This is
 6 not a case where an informant provided information that a defendant was planning to
 7 commit or a crime, or was committing a crime, and law enforcement, based on the
 8 informant’s tip, obtained a search warrant. Rather, this was a case where the informant
 9 told law enforcement that particular crime was being planned, and then the crime did in
10 fact occur—just as the informant predicted.
11         A Franks hearing is not “required every time some substantial adverse information
12 about an informant’s credibility is omitted from a probable cause affidavit.” United States
13 v. Clark, 935 F.3d 558, 565 (7th Cir. 2019). “When law enforcement has sufficiently
14 corroborated the informant’s information, ‘the omission of facts pertaining to the
15 informant’s credibility may not be material.’” United States v. Hannah, 2021 WL
16 3173571, at *17 (C.D. Ill. July 27, 2021) (quoting Clark, 935 F.3d at 565); see also
17 United States v. Angulo-Lopez, 791 F.2d 1394, 1397 (9th Cir. 1986) (“[A]n informant's
18 reliability may be demonstrated through independent police corroboration of the
19 information provided.”).
20         In addition, the significance of the potential impeachment information needs to be
21 put into perspective. First, the informant’s criminal history was limited to a firearms
22 conviction that occurred over fifteen years ago, which hardly bears on the informant’s
23 capacity for truthfulness. See United States v. Roddy, 119 F. App'x 126, 129 (9th Cir.
24 2004) (“Finally, even though Officer Mitsunaga knowingly omitted the CI's criminal
25 history from the warrant affidavit, we conclude that this omission does not satisfy the
26 second prong of Franks. None of the CI’s past offenses are crimes of dishonesty that are
27 relevant to his veracity as an informant.).
28
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 1         Similarly, the fact that the informant was compensated is not a particularly
 2 compelling reason to doubt the informant’s credibility. Indeed, the fact that the FBI
 3 deemed the informant reliable enough to pay approximately $140,000 for the informant’s
 4 information over 16 years tends to suggest that the informant is reliable. Moreover, the
 5 informant’s history of receiving compensation created an incentive for the informant to
 6 continue to give reliable information. Thus, this is not the traditional case of an
 7 informant who provides information because he is desperate to avoid a lengthy prison
 8 sentence. And, there is no suggestion the informant had even been untruthful or
 9 committed any acts of dishonesty in the past or in connection with this investigation.
10 Thus, even had the potential impeachment information been before the Court, it would
11 not have given cause to seriously doubt his or her veracity.
12         Second, a Franks hearing is unwarranted because the affiant’s failure to include
13 the potential impeachment information was the result of either an “innocent mistake” or
14 “negligence.” Franks, 438 U.S. at 171. The affiant would have included the potential
15 impeachment information in the affidavit had he appreciated that the credibility of the
16 informant might be at stake. But the government believed in good faith that the
17 allegation that Cole was पकजबतचषथबल did not turn on the informant’s credibility. As
18 outlined above, the government had overwhelming proof that Cole was पकजबतचषथबल,
19
   independent of the informant, and this was the primary basis for the repeated assertions to
20
   the Court that Cole was पकजबतचषथबल. There was no bad faith attempt to conceal the
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   potential impeachment information. Had anyone appreciated that the informant’s
22
   credibility might be at stake, the potential impeachment information would have been
23
   supplied to the Court, along with a description of the numerous ways in which the
24
   informant’s statements that Cole was पकजबतचषथबल had been corroborated.
25
          The reasons underlying the suppression remedy are to deter police officers who act
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   in bad faith or who otherwise act improperly. See generally Herring v. United States,
27
   555 U.S. 135, 141, (2009). That is not what happened here. The agents acted in good
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1 faith and made entirely truthful statements to the Court. The failure to supply the
2 potential impeachment information was not intentional or intended to mislead anyone.
3 “To trigger the exclusionary rule, police conduct must be sufficiently deliberate that
4 exclusion can meaningfully deter it, and sufficiently culpable that such deterrence is
5 worth the price paid by the justice system.” Id. That standard is not met here.
6                                             CONCLUSION
7          For the foregoing reasons, the motion to suppress should be denied.
8          DATED: August 20, 2021
9                                                  Respectfully submitted,
10                                                 TESSA M. GORMAN
                                                   Acting United States Attorney
11
12
                                                   /s/ Thomas M. Woods
13                                                 THOMAS M. WOODS
                                                   SETH WILKINSON
14
                                                   Assistant United States Attorneys
15                                                 United States Attorney’s Office
                                                   700 Stewart Street, Suite 5220
16
                                                   Seattle, Washington 98101-1271
17                                                 Telephone: (206) 553-7970
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1                                    CERTIFICATE OF SERVICE
2          I hereby certify that on August 20, 2021, I electronically filed the foregoing with
3 the Clerk of the Court using the CM/ECF system, which will send notification of such
4 filing to all registered parties.
5
                                                   s/ Thomas Woods
6                                                  THOMAS WOODS
7                                                  United States Attorney=s Office
                                                   700 Stewart Street, Suite 5220
8                                                  Seattle, Washington 98101-1271
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